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12                              IN THE UNITED STATES DISTRICT COURT

13                           FOR THE EASTERN DISTRICT OF CALIFORNIA

14                                        SACRAMENTO DIVISION

15

16
       RALPH COLEMAN, et al.,                            Case No. 2:90-cv-00520 KJM-DB (PC)
17
                                             Plaintiffs, ANNUAL UPDATE TO PROGRAM
18                                                       GUIDE AND COMPENDIUM OF
                      v.                                 CUSTODY-RELATED REMEDIAL
19                                                       MEASURES

20     GAVIN NEWSOM, et al.,
                                                         Judge: The Hon. Kimberly J. Mueller
21                                         Defendants.

22

23           On August 3, 2020, the Court ordered the parties to jointly file, beginning on September 1,

24     2021, and continuing annually thereafter, an updated Program Guide and an updated

25     Compendium of Custody Related Remedial Measures. (ECF No. 6806 at 17.) The order requires

26     that the Special Master approve the joint submission before filing. (Id.)

27           The parties have met and conferred and agree, subject to resolution of the dispute described

28     below, that the 2021 Program Guide, attached as Appendix A, reflects the updated Program
                                                      1
                               Annual Update to the Program Guide and Compendium (2:90-cv-00520 KJM-DB (PC))
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 1     Guide for 2021. The parties have also met and conferred and agree that the 2021 Compendium of

 2     Custody Related Remedial Measures is attached as Appendix B.

 3           There are five policies that are not included in the current 2021 Program Guide due to a

 4     materiality dispute that remains subject to the updating process that is currently pending before

 5     the Court.1 (ECF No. 7323.) The parties anticipate that the materiality dispute will be resolved

 6     through the process outlined in the Court’s September 21, 2021 order. (Id. at 9 – 10.)

 7           The parties met and conferred with the Special Master concerning their joint submission,

 8     and he advised that he can only conditionally approve the joint submission due to the ongoing

 9     disputes regarding the five policies referenced above, which have been implemented by the

10     Defendants. The Special Master further advised that he anticipates providing the Court with his

11     views as to the five disputed policies at the forthcoming October 7, 2021, status conference or, if

12     the Court so directs, in a separate filing.

13      Dated: September 29, 2021                               ROB BONTA
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14                                                              DAMON MCCLAIN
                                                                Supervising Deputy Attorney General
15
                                                                /s/ Elise Owens Thorn
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21

22      Dated: September 29, 2021                               ROSEN BIEN GALVAN & GRUNFELD LLP

23                                                               /s/ Ernest Galvan
                                                                 ERNEST GALVAN
24                                                               Attorneys for Plaintiffs
25

26             1
                The five excluded policies are: (1) Mental Health Crisis Bed: Supervisory Review of
       Suicide Risk Assessment and Self-Harm Evaluations; (2) Psychiatric Inpatient Programs:
27     Treatment Planning and Procedures: Suicide Prevention and Response; (3) Psychiatric Nurse
       Practitioner Policy; (4) Use of Force Procedures during Medical Emergencies and for Court
28     Ordered Involuntary Treatment; and (5) Crisis Intervention Teams.
                                                       2
                                 Annual Update to the Program Guide and Compendium (2:90-cv-00520 KJM-DB (PC))
